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                               UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF LOUISIANA

  TERRI LEWIS STEVENS and JENNIFER                                     CIVIL ACTION
         AND CRAIG RIVERA
                                                                     NO. 2:20-cv-00928
                      versus
                                                               SECTION “L” MAG. DIV. (1)
     THE ST. TAMMANY PARISH
   GOVERNMENT and THE STATE OF                                        JUDGE FALLON
 LOUISIANA THROUGH ITS LOUISIANA
  DEPARTMENT OF ENVIRONMENTAL                                MAGISTRATE VAN MEERVELD
              QUALITY



                    NOTICE OF ADJUDICATION OF RELATED CASE

       NOW COMES St. Tammany Parish Government (“St. Tammany”), and files this Notice

of Adjudication of Related Case, which relates to St. Tammany’s pending Motion for Attorney’s

Fees and Costs (Doc. 142) and Supplemental Motion for Attorney’s Fees and Costs (Doc. 179).

       1.      In their Opposition to St. Tammany’s Supplemental Motion (Doc. 190), Plaintiffs

requested this Court defer ruling on the pending Motions until such time as the Louisiana Supreme

Court ruled on their Application for Writ of Certiorari.

       2.       On 22 June 2022, the Louisiana Supreme Court denied Plaintiffs’ Application for

Writ of Certiorari. A copy of this ruling is attached hereto as Exhibit 1. This writ denial concludes

all litigation in the related state court proceedings between these parties.




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                                                Respectfully submitted,

                                                DAIGLE FISSE & KESSENICH, PLC

                                                BY: /s/ D. Stephen Brouillette, Jr.
                                                James L. Bradford, III (#23662) (T.A.)
                                                Kirk N. Aurandt (#25336)
                                                D. Stephen Brouillette, Jr. (#29105)
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                                                227 Highway 21
                                                Madisonville, LA 70447
                                                COUNSEL FOR DEFENDANT,
                                                ST. TAMMANY PARISH GOVERNMENT



                                   CERTIFICATE OF SERVICE

          I do hereby certify that on this 22nd day of June 2022, this document was filed using the ECF

system and service on all parties was accomplished through the Notice of Electronic Filing for Filing

Users.


                                                /s/ D.   Stephen Brouillette, Jr.




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         06/22/2022 "See News Release 028 for any Concurrences and/or Dissents."



             The Supreme Court of the State of Louisiana
TERRI LEWIS STEVENS AND JENNIFER
FRUCHTNICHT WIFE OF/AND CRAIG                                     No. 2022-C-00661
RIVERA

VS.

ST. TAMMANY PARISH GOVERNMENT


                                     ______

IN RE: Terri Lewis Stevens - Applicant Plaintiff; Craig Rivera - Applicant Plaintiff;
Jennifer Fruchnicht Rivera - Applicant Plaintiff; Jennifer Fruchtnicht wife of/and
Craig Rivera - Applicant Plaintiff; Applying For Writ Of Certiorari, Parish of St.
Tammany, 22nd Judicial District Court Number(s) 2015-10649, Court of Appeal,
First Circuit, Number(s) 2021 CA 0686;
                                    ______

June 22, 2022


Writ application denied.
                                        JLW
                                        JDH
                                        SJC
                                        JTG
                                        WJC
                                        JBM
                                        PDG




Supreme Court of Louisiana
June 22, 2022

   Chief Deputy Clerk of Court
          For the Court
                                                       EXHIBIT 1
